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          IN THE UNITED STATES DISTRICT COURT
     NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION


CORECO JA’QAN PEARSON, et al.,
                                                        CASE NO.
     Plaintiffs,
v.                                                      1:20-cv-4809-TCB

BRIAN KEMP, et al.,

     Defendants.



     PLAINTIFFS’ CONSOLIDATED RESPONSE TO THE
     MOTIONS TO DISMISS AND REPLY IN SUPPORT OF
      EMERGENCY MOTION FOR INJUNCTIVE RELIEF



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      Come now the Plaintiffs and submit this Conslidiated Response to the

Motions to Dismiss and Reply in Support of Emergency Motion for Injunctive

Relief.

                              INTRODUCTION

      The motions to dismiss contends that Plaintiffs’ claims are baseless. In

fact, they are based on the Constitution, and are supported by substantial

and voluminous evidence filed with the Complaint showing in multiple

dimensions that the election was conducted in an unconstitutional manner

and was infected with fraud, politically biased counting, and illegality more

than sufficient to put the outcome in doubt. The evidence presented shows a

substantial disregard for the State Legislature’s Election Code for federal
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elections, which are clearly within the jurisdiction and power of a federal

court to redress. Bush v. Gore, 531 U.S. 98 121 S.Ct. 525 (2000). There is no

question that Plaintiffs have alleged sufficient facts to conduct an inquiry

into whether the acts of the State’s administrative agents in this regard

constituted a significant departure from the legislative scheme and that this

Court has jurisdiction and authority to redress these grievances.

      In response to Plaintiffs’ substantial body of evidence from many

credible fact and expert witnesses substantiating the allegations (further

discussed below), the Defendants put their fingers in their ears. They address

this evidence with self-serving press releases that cover the ugly and

unconstitutional political malfeasance at the heart of this case. Instead, they

offer a series of slogans – standing, subject matter jurisdiction, and failure to

state a claim for relief – the evidence being the last thing they want the

Court to notice. They contend that presidential electors, who legally are

candidates in the election, O.C.G.A. § 21-2-10, have no standing to complain

that the election was stolen from them by fraud, illegality, unconstitutional

political discrimination in the counting of the votes and a wholesale

”departure from the legislative scheme.” They invoke an equitable doctrine,

laches, to shield clearly unconstitutional election fraud and illegality from

judicial scrutiny, as if equity would lend itself to such a purpose.




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      Plaintiffs could not claim the election was stolen until it actually was

stolen and evidence of that theft emerged with sufficient clarity to support

the allegations of this case. As the world now knows, the wrongdoing for

which this case seeks relief was completed on and after November 3, 2020.

This case was filed on the third business day after certification, well within

the most closely analogous state law limitations period, which requires

election contests be filed within five days of certification.1 See O.C.G.A. § 21-

2-524(a). Cf. SCA Hygiene Prod. Aktiebolag v. First Quality Baby Prod., LLC,

137 S. Ct. 954, 960 (2017) (laches does not generally apply within statutory

limitations period). Even more to the point, this lawsuit was filed before the

certification of the recount results.2 Arguments that Plaintiffs have failed to

state a claim betray unfamiliarity with the allegations, the evidence and the

relevant law. The motion should be denied.

                        STATEMENT OF FACTS

      Plaintiffs have alleged and submitted fact and expert witness

testimony to multiple serious illegalities in the election which may be

summarized in pertinent part as follows:




1 For periods less than seven days, intervening weekends and legal holidays
are not counted. See O.C.G.A. § 1-3-1(c)(3)
2 See https://www.cnn.com/2020/12/02/politics/georgia-recount-results-brad-
raffensperger/index.html (Raffensperger on December 2, 2020 “expects to re-
certify President-elect Joe Biden as the winner.”)

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1.      Illegal tabulation of a significant volume of absentee ballots in
        Fulton County out of public view in violation of O.C.G.A. § 21-2-
        483(b). See Complaint, paras. 10-11, 116-119. Republican
        observers were told to leave around 10:30 PM. Doc. 1-28 and 1-29.
        This has recently been confirmed by surveillance video obtained
        from State Farm Arena which clearly shows this activity, and
        further shows that the same ballots were scanned over and over,
        another clear election fraud. This video evidence will be filed with
        the Court Monday December 7, 2020.

2.      Eye-witness testimony from a poll manager with 20 years’
        experience that stacks of utterly pristine mail-in ballots were
        counted – impossible for any absentee ballot returned in the mail
        (as they all are) because they have to be folded twice to fit in the
        envelope. To the witness’ observation, 98% of these ballots were
        voted for Vice President Biden. Complaint ¶ 75; Doc. 1-16
        (Affidavit of Susan Voyles, ¶¶ 14-16, 27). This evidence is
        supplemented by a declaration from another experienced observer
        that he also observed pristine ballots during the recount which
        were voted for Joe Biden. See Declaration of Wilburn J. Winter,
        filed December 6, 2020.

3.      Expert testimony that 20,311 non-residents voted illegally.
        William. M. Briggs, Ph.D., a statistician, estimated based on
        survey data rigorously collected by Matt Braynard and the Voting
        Integrity Project, that 20,311 absentee or early voters voted in
        Georgia despite having moved out of state – sufficient in itself to
        put the outcome of the election in doubt. See Complaint ¶ 122(d);
        Doc. 1-1 (Briggs Declaration and Report); Doc. 45-1 (Expert Report
        of Matthew Braynard).

4.      A massive number of unrequested absentee ballots were sent in
        violation of the legislative scheme, estimated to a 95% confidence
        interval to be between 16,938 and 22,771 ballots – sufficient in
        itself to put the outcome of the election in doubt. Complaint ¶
        122(b); Doc. 1-1 (Briggs Declaration and Report); Doc. 45-1 (Expert
        Report of Matthew Braynard).

5.      A massive number of absentee ballots that were returned by the
        voters but never counted, estimated to a 95% confidence interval
        to be between 31,559 to 38,886. Complaint ¶ 122(a); Doc 1-1,
        Briggs Declaration; Doc. 45-1, Braynard Report.


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6.      A statistical analysis of Fulton County precinct voting results by
        Eric Quinnell, Ph.D. identifies 32,347 votes in Fulton County alone
        as statistically anomalous, and notes that in certain precincts
        Biden gained more than 100% of the increase in new registrations
        from the 2016 general election. Complaint ¶ 123; Doc. 1-27, ¶¶ 7-8.
        A second declaration from Dr. Quinnell and S. Stanley Young,
        Ph.D., a member of the American Association for the Advancement
        of Science in the area of statistics, further analyzes Fulton County
        absentee ballots and finds glaring statistical anomalies that are so
        extreme as to be mathematically impossible to co-exist in the
        absentee ballot data. See Doc. 45-2.

7.      An analysis by Russell Ramsland of absentee ballot statistics
        showing that 5,990 absentee ballots had impossibly short intervals
        between the dates they were mailed out and the dates they were
        returned, and that at least 96,000 absentee ballots were voted but
        are not reflected as having been returned. Complaint ¶¶ 16 & 190;
        Doc. 1-10, ¶¶ 15 (Ramsland Declaration).

8.      The absentee ballot signature rejection rate announced by the
        Secretary of State was .15%. Only 30 absentee ballot applications
        were rejected statewide for signature mismatch, with nine in tiny
        Hancock County, population 8,348, eight in Fulton County and
        zero in any other metropolitan county. Under the faulty consent
        decree, signatures could be matched (if there was any matching
        done at all) with the applications alone – allowing unfettered
        injection of bootstrapped signatures into the valid absentee ballot
        pool. Plaintiffs allege that these facts represent the de facto
        abolition of the statutory signature match requirement of O.C.G.A.
        § 21-2-386 in violation of state statute, the Elections and Electors
        Clause, and the Equal Protection and Due Process Clauses.

9.      An analysis by Benjamin Overholt, filed at Doc. 45-3, calculates
        that the signature rejection rate in Georgia for absentee ballots in
        the 2020 election was .15%, and that the Secretary of State has
        used inconsistent methodologies in calculating the 2016, 2018 and
        2020 rejection rates to make the 2020 rejection rate seem better by
        comparison. Overholt says the Secretary of State’s press release is
        “misleading” and uses inconsistent methodologies and faulty
        comparisons.




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10.   The Dominion voting system ballots marked by Ballot Marking
      Devices are not voter-verifiable or auditable in a software-
      independent way. Complaint ¶¶ 13, 110(a) Doc. 1-5, ¶ 7; Doc. 1-8
      passim). This issue has been litigated and decided against the
      State Defendants in Curling v. Raffensperger, 2020 WL 5994029
      (N.D. Ga. 10/11/20), giving rise to issue preclusion against the
      Defendants.

11.   The electronic security of the Dominion system is so lax as to
      present a “extreme security risk” of undetectable hacking, and
      does not include properly auditable system logs. Complaint ¶ 8, ;
      Doc. 1-4 (Hursti Declaration ¶¶ 37, 39, 45-48; Doc. 1-5, at p. 29, ¶
      28). Judge Totenberg’s decision in Curling v. Raffensperger, 2020
      WL 5994029 (N.D. Ga. 10/11/20) also gives rise to issue preclusion
      on this problem.

12.   The process of uploading data from memory cards to the Dominion
      servers is fraught with serious bugs, frequently fails and is a
      serious security risk. Doc. 1-4 (Hursti Declaration ¶¶ 41-46).

13.   There has been no inventory control over USB sticks, which were
      regularly taken back and forth from the Dominion server to the
      Fulton County managers’ offices, another extreme security risk.
      Id. at ¶ 47

14.   “The security risks outlined above – operating system risks, the
      failure to harden the computers, performing operations directly on
      the operating systems, lax control of memory cards, lack of
      procedures, and potential remote access, are extreme and destroy
      the credibility of the tabulations and output of the reports coming
      from a voting system.” Id. at ¶ 49.

15.   The Spider Affidavit, Doc. 1-2, reports on cyber security testing
      and analysis, penetration testing, and network connection tracing
      and analysis with respect to Dominion Voting Systems servers and
      networks. The Affiant is formerly of the 305th Military
      Intelligence Battalion with substantial expertise and experience in
      cyber security. In testing conducted November 8, 2020, he found
      shocking vulnerabilities in the Dominion networks, with
      unencrypted passwords, network connections to IP addresses in
      Belgrade, Serbia, and reliable records of Dominion networks being
      accessed from China. Doc. 1-2, ¶¶ 7-10. The Spider affidavit also


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      finds that Edison Research, an election reporting affiliate of
      Dominion, has a directly connected Iranian server, which is in
      turn tied to a server in the Netherlands which correlates to known
      Iranian use of the Netherlands as a remote server. Id. at ¶¶ 10-11.
      The Spider affidavit identifies a series of other Iranian and
      Chinese connections into Dominion’s networks and systems. The
      affidavit concludes in ¶ 21:

             In my professional opinion, this affidavit presents
             unambiguous evidence that Dominion Voter Systems
             and Edison Research have been accessible and were
             certainly compromised by rogue actors, such as Iran
             and China. By using servers and employees connected
             with rogue actors and hostile foreign influences
             combined with numerous easily discoverable leaked
             credentials, these organizations neglectfully allowed
             foreign adversaries to access data and intentionally
             provided access to their infrastructure in order to
             monitor and manipulate elections, including the most
             recent one in 2020. This represents a complete failure of
             their duty to provide basic cyber security.

16.   The Declaration of Russell Ramsland, Doc. 1-10, finds similar
      shocking vulnerabilities in the Dominion networks and systems,
      and confirms the findings of the Spider affidavit. He further shows
      that malware on SCTYL’s servers can capture log in credentials
      used in the Dominion networks. Id. at ¶¶ 4-5. Ramsland finds that
      Dominion’s source code is available on the Dark Web, and that
      Dominions election systems use unprotected logs, making
      undetectable hacking by sophisticated hackers possible. Id. at 6-7.
      This latter point confirms Judge Totenberg findings about the
      vulnerabilities in the Dominion system in Curling v.
      Raffensperger, 2020 WL 5994029 (N.D. Ga. 10/11/20).

17.   In further analysis, Ramsland finds through sophisticated
      mathematical techniques that there was a distinct political bias in
      favor of Joe Biden and against Donald Trump in the results
      reported from Dominion machines vs. those reported on other
      systems. Id. at ¶¶ 8-10. Biden averaged 5% higher on Dominion
      and Hart systems than on other systems. Id. Looking at counties
      where Biden overperformed Ramsland’s predictive model, where
      other machines were used Biden overperformed only 46% of the

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           time, indicating machine neutrality. However, in the
           Dominion/Hart system counties, Biden overperformed the model
           78% of the time, an anomalous or unnatural result to the 99.99%
           confidence level. Id. at 10-12. This analysis was confirmed by
           checking it by another machine learning method. Id. at ¶ 12. See
           also ¶13 (“This indicates the fraud was widespread and
           impacted vote counts in a systematic method across many
           machines and counties.”) (Emphasis in original).

     18.   Ramsland reaches the same conclusion as the Spider affidavit, and
           adds the following:

                   Based on the foregoing, we believe this presents
                   unambiguous evidence that using multiple statistical
                   tools and techniques to examine if the use of voting
                   machines manufactured by different companies affected
                   2020 US election results, we found the use of the
                   Dominion X/ICE BMD (Ballot Marking Device)
                   machine, manufactured by Dominion Voting Systems,
                   and machines from Hart InterCivic, appear to have
                   abnormally influenced election results and
                   fraudulently and erroneously attributed from
                   13,725 to 136,908 votes to Biden in Georgia.
                   (Emphasis in original).

     19.   Dominion’s Chief Technical Officer, strategy director, and co-
           inventor on several patents assigned to Dominion, and primary
           defense expert witness in Curling v. Raffensperger, and holder of
           multiple patents on Dominion’s software, is a member of Antifa, a
           violent revolutionary communist group, responsible for months of
           mayhem in Portland, Oregon, and violent rioting all over the
           United States. Dr. Coomer is consumed with an intense loathing
           and frothing psychotic rage towards Donald Trump and all of his
           supporters. Dr. Coomer said in an Antifa conference call “Don’t
           worry. Trump won’t win the election, we fixed that.” Complaint ¶
           120. Dr. Coomer thus had motive, means and opportunity to rig
           the election through the Dominion software and openly declared
           he had done so.

      It is claimed by the Defendants that the hand audit precludes the

possibility of electronic election fraud. Not only is this not true, the State


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Defendants are collaterally estopped from making this argument because it

has been decided against them by Judge Totenberg in Curling v.

Raffensperger, 2020 WL 5994029 (N.D. Ga. 10/11/20). As Judge Totenberg

held:

              Georgia’s Election Code mandates the use of the BMD system
        as the uniform mode of voting for all in-person voters in federal and
        statewide elections. O.C.G.A. § 21-2-300(a)(2). The statutory
        provisions mandate voting on “electronic ballot markers” that: (1)
        use “electronic technology to independently and privately mark a
        paper ballot at the direction of an elector, interpret ballot selections,
        communicate such interpretation for elector verification, and print
        an elector verifiable paper ballot;” and (2) “produce paper ballots
        which are marked with the elector’s choices in a format readable by
        the elector” O.C.G.A. § 21-2-2(7.1); O.C.G.A. § 21-2-300(a)(2).

              Plaintiffs and other voters who wish to vote in-person are
        required to vote on a system that does none of those things.
        Rather, the evidence shows that the Dominion BMD system does
        not produce a voter-verifiable paper ballot or a paper ballot
        marked with the voter’s choices in a format readable by the
        voter because the votes are tabulated solely from the
        unreadable QR code. Thus, under Georgia’s mandatory voting
        system for “voting at the polls” voters must cast a BMD-generated
        ballot tabulated using a computer generated barcode that has the
        potential to contain information regarding their voter choices that
        does not match what they enter on the BMD (as reflected in the
        written text summary), or could cause a precinct scanner to
        improperly tabulate their votes.

Id. at 34-35 (emphasis added). These properties render the election

unauditable by hand recount. Plaintiffs’ evidence, and the evidence reviewed

at length by Judge Totenberg, shows that BMD ballots are not auditable in

any software-independent way. See e.g. Doc. 1-8, passim. Claims to the




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contrary rest on a fallacious assumption that the veracity vel non of the BMD

ballots is independent of the BMDs themselves – a classic case of circular

reasoning.

      In the face of all this evidence from the Complaint and before the

Court, Defendants travel under the 12(b)(6) standard of review that requires

the Court to assume all of the foregoing is true. They then argue there is

“nothing to see here” and that we should all just move along. That argument

is utterly without merit and should be rejected.

           ARGUMENT AND CITATION OF AUTHORITY

      I.     PLAINTIFFS AS PRESIDENTIAL ELECTORS AND A
             POLITICAL PARTY ORGANIZATION HAVE STANDING

             1.   DEFENDANTS’ STANDING ARGUMENTS

      The Defendants first contend that Plaintiffs do not have standing.

However, Plaintiffs Correco Ja’Quan Pearson, Vikki Townsend Consiglio,

Gloria Kay Godwin, James Kenneth Carroll, Carolyn Hall Fisher, and

Cathleen Alston Latham are all nominated Republican Presidential Electors

for the State of Georgia. As such, in legal contemplation they are candidates

in the election under O.C.G.A. § 21-2-10, which provides:

      At the November election to be held in the year 1964 and every
      fourth year thereafter, there shall be elected by the electors of this
      state persons to be known as electors of President and Vice
      President of the United States and referred to in this chapter as
      presidential electors, equal in number to the whole number of
      senators and representatives to which this state may be entitled in
      the Congress of the United States.

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      Pursuant to O.C.G.A. § 21-2-11, the duties of presidential electors are

as follows:

      The presidential electors chosen pursuant to Code Section 21-2-10
      shall assemble at the seat of government of this state at 12:00 Noon
      of the day which is, or may be, directed by the Congress of the
      United States and shall then and there perform the duties required
      of them by the Constitution and laws of the United States.

      The standing of presidential electors to challenge fraud, illegality and

unconstitutional political discrimination in a presidential election stands, as

it were, on a different footing than that of an ordinary citizen elector. They

are candidates, not voters. Theirs is not a generalized grievance, it is a

particularized grievance. The election was not stolen from their preferred

candidate, it was stolen from them individually and particularly. There are

only 16 Republican Presidential electors in the whole state – six of them are

plaintiffs in this case – versus 7,233,584 registered voters in Georgia.3

      The Eighth Circuit case of Carson v. Simon, 978 F.3d 1051 (8th Cir.

2020) is directly on point and highly persuasive, leading the Defendants to

deride it as an outlier. In fact, the reasoning of Carson is directly analogous.

Carson reviewed Minnesota law, including Minn. Stat. § 208.03, which

provides that a vote for a presidential and vice-presidential candidate “shall

be deemed to be a vote for that party’s electors.” Carson then concluded



3 See https://sos.ga.gov/index.php/Elections/voter_registration_statistics, last
visited November 5, 2020.

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“Because Minnesota law plainly treats presidential electors as candidates, we

do, too.” Id. at 1057. Georgia law similarly treats presidential electors as

candidates, and has a statute nearly identical to Minn. Stat. § 208.03,

O.C.G.A. § 21-2-480(g), which provides that “[a] vote for the candidates for

President and Vice President of a political party or body shall be deemed to

be a vote for each of the candidates for presidential electors of such political

party or body.”

      As the court in Carson explained, this drove its conclusion that

presidential electors have standing:

      As candidates, the Electors argue that they have a cognizable
      interest in ensuring that the final vote tally accurately reflects the
      legally valid votes cast. An inaccurate vote tally is a concrete and
      particularized injury to candidates such as the Electors. The
      Secretary's use of the consent decree makes the Electors' injury
      certainly-impending, because the former necessarily departs from
      the Legislature's mandates. Thus, the Electors meet the injury-in-
      fact requirement.”

Id. at 1058.

      The causal-connection test is satisfied because the injury – an

inaccurate vote tally – flows from the fraud, illegality and unconstitutionality

in the conduct of the election as alleged in the Complaint.

      The redressability test is satisfied because decertification of the

election results, and/or certification of the Trump Electors, or prohibition of




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the Biden Electors from voting in the Electoral College would redress the

injury. See id.

      Prudential standing is also satisfied because “[a] significant departure

from the legislative scheme for appointing Presidential electors presents a

federal constitutional question.” Bush v. Gore, 531 U.S. 98, 112, 121 S.Ct.

525, 533-534 (2000) (Rehnquist, Scalia and Thomas concurring).

      As the Eighth Circuit concluded, “[f]or these reasons, we conclude the

Electors have Article III standing as candidates.” Id. So should this Court.

      The Defendants rely principally on Bognet v Sec’y of Commonwealth,

No. 20-2314, 2020 WL 6686120 (3rd Cir. Nov. 13, 2020), where the court

found that electors lacked standing based on the particularities of a

Pennsylvania law that are not present here. In particular, the Bognet court

did not discuss the significance of State law provisions pursuant to which

Presidential Electors are candidates for office – the linchpin of the Carson

decision. Moreover, none of the plaintiffs in Bognet were Presidential

Electors.

      Plaintiff Jason M. Shepherd is the Chairman of the Cobb County

Republican Party and sues in his official capacity on its behalf.4 All of the




4Mr. Shepherd’s status as a plaintiff is alleged in paragraph 29 of the
Complaint. He was not included in the caption due to inadvertence.

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authorities cited by the Intervenors to support their right to intervene in this

case support this Plaintiff’s standing.

      Plaintiffs’ allege, first, and with great particularity, that Defendants

have violated the Georgia Election Code to dilute the votes of Georgia’s

Republican voters (or voters for Republican candidates) with illegal,

ineligible, duplicate or fictitious ballots that Defendants, in collaboration

with public employees, Dominion and Democratic poll watchers and activists,

have caused to be counted as votes for Democratic candidates. The fact and

expert witness testimony describes and quantifies the myriad means by

which Defendants and their collaborators illegally inflated the vote tally for

Biden, including: double counting of the same vote, non-resident voters,

impossible sent and received dates on absentee ballots, failure to match

signatures, etc., etc. Thus, the vote dilution resulting from this systemic and

illegal conduct did not affect all Georgia presidential electors or political

parties equally; it had the intent and effect of inflating the number of votes

for Biden and reducing the number of votes for Trump.

      Further, Plaintiffs have presented evidence that Defendants

disenfranchised Republican and Trump voters to reduce their voting power,

in clear violation of “one person, one vote.” See generally Baker v. Carr, 369

U.S. 186 (1962); Reynolds v. Sims, 377 U.S. 533 (1964). Defendants engaged

in several schemes to devalue Republican votes as detailed in the Complaint,


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including absentee ballots being returned but not counted, or “1 person, 0

votes,” and Dominion algorithmic manipulation, or for Republicans, “1

person, 1/2 votes,” and for Democrats, “1 person, 1.5 votes.” See e.g., Doc.

1-1 (Dr. Briggs Testimony regarding ballots not requested but sent, ballots

returned but not counted), Doc. 1-10 (Ramsland testimony regarding additive

algorithm), ¶¶ 116-119 (allegations of illegal tabulation at State Farm Arena,

validated by video surveillance obtained December 2, 2020).

      Plaintiffs’ injury is that the relative values of their particular votes,

and those of similarly situated voters for Republican candidates were

devalued or disregarded, rather than a “generalized grievance” “no different

than the interests of all Georgia voters as Defendants claim. Doc. 63-1 at 19.

,”Federal courts in Georgia and the Eleventh Circuit have long recognized

that “plaintiffs have standing to bring Due Process and Equal Protection

claims where they allege that their votes would likely be improperly

counted,” as they were here. Curling v. Kemp, 334 F.Supp.3d 1303, 1316

(N.D. Ga. 2018) (citing Stewart v. Blackwell, 444 F.3d 843, 855 (6th Cir. 2006)

(finding voter plaintiffs had standing and substantial likelihood of success on

equal protection and due process claims challenging use of voting machines

likely to debase or devalue their votes).




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            2.    STATE DEFENDANTS’ STANDING ARGUMENTS

      What has already been said covers much of the State Defendants’

standing arguments, except for one, after which we address their traceability

and redressability arguments here.

      The State Defendants rely on Wood v. Raffensperger, 2020 WL 7094866

(11th Cir. Case No. 201-14418 Dec. 5, 2020) for their argument that Plaintiffs

here present only non-justiciable generalized grievances. While Wood applies

this rule to Wood as a citizen elector, it expressly notes that if he had been a

candidate – like the presidential elector plaintiffs in this case – he would

have had standing:

      Wood asserts only a generalized grievance. A particularized injury
      is one that “affect[s] the plaintiff in a personal and individual
      way.” Spokeo, 136 S. Ct. at 1548 (internal quotation marks
      omitted). For example, if Wood were a political candidate harmed
      by the recount, he would satisfy this requirement because he could
      assert a personal, distinct injury. Cf. Roe v. Alabama ex rel. Evans,
      43 F.3d 574, 579 (11th Cir. 1995)

Id.

      As for traceability and redressability, according to the State

Defendants, they are mere bystanders to the election just conducted, having

virtually nothing to do with any of the fraud and irregularity alleged by the

Plaintiffs. The State Defendants’ role is not so limited. Plaintiffs seek the

remedy of de-certification (unlike Wood who sought only to delay certification

in the district court proceedings) and an injunction against the State


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Defendants’ empowering and empaneling the Biden Electors to vote in the

Electoral College on December 14, 2020. These remedies go directly to the

statutory role of the Governor and Secretary of State in a presidential

election under Georgia law.

      With respect to certification, O.C.G.A. § 21-2-493(i) provides that

election superintendents are not permitted to certify election results they

know or have reason to know include fraudulent, illegal or erroneous results:

“If any error or fraud is discovered, the superintendent shall

compute and certify the votes justly, regardless of any fraudulent or

erroneous returns presented to him or her, and shall report the facts to

the appropriate district attorney for action.” (Emphasis added).

      Similarly, as particularly applicable to the Secretary of State as the

chief elections officer in Georgia, O.C.G.A. § 21-2-499 provides that

      [i]n the event an error is found in the certified returns
      presented to the Secretary of State or in the tabulation,
      computation, or canvassing of votes as described in this Code
      section, the Secretary of State shall notify the county
      submitting the incorrect returns and direct the county to
      correct and recertify such returns.” (Emphasis added).

      The pretense that the officials made responsible by O.C.G.A. § 21-2-31

for ensuring the legality and purity of Georgia elections are powerless to do

the very job they are authorized and commanded to do is preposterous.




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      The State Defendants, after this lawsuit was filed, have re-certified the

election following a machine recount despite the evidence presented in this

case and in the public square. The injury caused by certification of results

marred by fraud, illegality and error in an amount sufficient to put the

outcome of the election in doubt is directly traceable to the actions of the

State Defendants under controlling provisions of the Georgia Election Code.

It is also redressable by the remedies prayed against the State Defendants.

They cannot pretend they are blameless for the problems or helpless to

correct them. They picked the Dominion system. Their polices lead to the de

facto abolition of the signature match requirement. Their regulation to

permit early processing of absentee ballots is unlawful and unconstitutional.

Their Settlement Agreement breached the citadel for absentee ballots and is

unlawful and unconstitutional. The claims against the State Defendants

satisfy all elements of standing and justiciability.

      II.   THE COURT HAS SUBJECT MATTER JURISDICTION
            OVER COUNT V.

      The Intervenor Defendants devote two sentences in a single paragraph

to the top-level heading argument that the Court lacks subject matter

jurisdiction over the state law election contest claim in Count V, relying on

O.C.G.A. § 21-2-523(a) which states that an election contest under the

relevant article of the Election Code shall be tried and determined in the



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superior court of the county where the defendant resides. That is the extent

of their argument.

      But, as noted elsewhere in this brief, we are dealing here with a

departure from the legislative scheme for appointing presidential electors.

20,188 non-residents were allowed to vote, in violation of the Georgia

Election Code. The signature match requirement for absentee ballot

applications was de facto abolished and applied in a highly unequal fashion

between counties, in violation of the Equal Protection clause. The signature

rejection rate for absentee ballots themselves was only .15%. Either nearly all

Georgia voters have perfect penmanship, or the statutory requirement was

effectively abolished. Ballots were tabulated after hours and out of public

view, in violation of the Georgia Election Code. Ballots were scanned over

and over again in violation of the Georgia Election Code. “A significant

departure from the legislative scheme for appointing Presidential electors

presents a federal constitutional question.” Bush v. Gore, 531 U.S. 98, 112

(2000). Therefore, Count V of the Complaint presents not just a state law

question, but a federal constitutional question as well, over which the Court

has subject matter jurisdiction under 28 U.S.C. § 1331 (federal question), 28

U.S.C. § 1343 (Presidential election) and 28 U.S.C. §1367 (supplemental

jurisdiction for state law and constitutional claims).




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      III.   LACHES DOES NOT BAR CLAIMS FOR DE-
             CERTIFICATION BASED ON ELECTION FRAUD AND
             ILLEGALITY ASSERTED THREE BUSINESS DAYS AFTER
             CERTIFICATION AND BEFORE POST-RECOUNT
             CERTIFICATION.

      Defendant Intervenors assert that Plaintiffs claims are barred by

laches.

      Laches is “a defense developed by courts of equity” to protect
      defendants against “unreasonable, prejudicial delay in commencing
      suit.” Petrella, supra, at ___, ___ (slip op., at 1, 12). See also 1 D.
      Dobbs, Law of Remedies §2.3(5), p. 89 (2d ed. 1993) (Dobbs) (“The
      equitable doctrine of laches bars the plaintiff whose unreasonable
      delay in prosecuting a claim or protecting a right has worked a
      prejudice to the defendant”).

SCA Hygiene Prod. Aktiebolag v. First Quality Baby Prod., LLC, 137 S. Ct.

954, 960 (2017).

      Here there is no unreasonable delay in asserting Plaintiffs’ rights and

no resulting prejudice to the defending parties. Plaintiffs could not file a

lawsuit claiming the election was stolen by fraud and illegality, fraudulent

ballots, non-resident voting, unrequested absentee ballots, absentee ballots

returned but not counted, politically discriminatory counting, illegal

tabulation, scanning the same ballots multiple times, and apparent

fraudulent electronic manipulation of votes until the election actually was

stolen through those means.

      The de facto abolition of the signature match requirement, and the

State Defendants’ failure to enforce the requirement and the other massive


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irregularities surrounding absentee ballots did not happen until the election

occurred. The appalling failure to protect this election against massive fraud

through absentee ballots did not happen until Defendants caused or let it

happen.

      The claims of prejudice to the Defendants and to lawful voters who cast

their legal votes in the election presume the point in controversy – whether

the election was lawful or fraudulent. No Defendant, no candidate, no

intervenor, no political party and no citizen can claim a legally protectible

interest in a fraudulent election result. In legal contemplation, there can be

no prejudice to anyone from invaliding such an election. Defendants would

have us believe there is no cognizable legal, equitable or constitutional

remedy for an election that has been won through fraudulent means. This

notion is obnoxious to history, law, equity, the Constitution and common

sense. Elections are regularly invalidated for fraud and illegality. There is no

reason this one cannot also be invalidated if the evidence is sufficient to

support that remedy.

      The election was certified on November 20, 2020. Plaintiffs filed their

Complaint on November 25, three business days later, and well within the

state law limitations period for election contests of five days. See O.C.G.A. §

21-2-524(a). Plaintiffs seek de-certification. De-certification presumes prior

certification. The claim was not ripe until then. Moreover, much of the


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misconduct identified in the Complaint was not apparent on Election Day, as

the evidence of voting irregularities was not discovered until weeks after the

election and through very careful expert analysis. Finally, as noted, the

election was re-certified after this lawsuit was filed.

        Finally, the election was re-certified after the recount after this case

was filed.5 Laches cannot reach backward in time to bar a case filed before

one of the events complained of

        Under the heading of laches, the Defendants also argue that Plaintiffs

claims must be barred because the requested relief would “erode the public’s

confidence in the electoral process” citing Wood v. Raffensperger, No. 1:20-cv-

04561, ECF No. 54 at 22 (N.D. Ga. Nov. 20, 2020). That ship has sailed.

Millions of people have seen the surveillance video from State Farm Arena

showing two hours of illegal tabulation not in public view – after the press

and partisan observers were unlawfully told to leave. Millions of people have

seen election workers on this video scanning the same ballots over and over

again. Millions of people who have seen this flagrant, large-scale, systematic,

intentional and knowing election fraud by workers in the Fulton County

Board of Registrations and Elections are utterly shocked and disgusted.

There is no confidence left to preserve. Instead, it must be restored by




5   See n. 2 above.

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invalidating a fraudulent result and allowing the electors to be chosen by the

Legislature under the plenary power granted them for this purpose by the

Elections and Electors Clause. U.S. Const. Art. II, § 1, cl. 2. Ramming a

fraudulent election result down the throats of the American people in the

name of preserving confidence in the electoral process would be one of the

most ridiculous and provocative acts of betrayal in our long and tumultuous

history.

      IV.   PLAINTIFFS HAVE STATED CLAIMS FOR RELIEF

            1.     T H E 12(b)(6) S T A N D A R D .

      Fed.R.Civ.P. 8(a)(2) requires that a pleading contain “a short and plain

statement of the claim showing that the pleader is entitled to relief” in order

to “give the defendant fair notice of what the ... claim is and the grounds upon

which it rests.” In order to survive a motion to dismiss, a plaintiff must

articulate “enough facts to state a claim to relief that is plausible on its face.”

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955, 167 L.Ed.2d

929 (2007). “A claim has facial plausibility when the plaintiff pleads factual

content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S.

662, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009). While it is true that a pleading

that merely offers “labels and conclusions” or “a formulaic recitation of the

elements of a cause of action” may subject to dismissal under Rule 12(b)(6),


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the “facial plausibility” standard does not give rise to a “probability

requirement” at the pleading stage. Twombly at 556. The standard merely

“calls for enough facts to raise a reasonable expectation that discovery will

reveal evidence” of the claim. Id. In doing so, the Court must accept all of the

plaintiff's allegations as true, construing them in the light most favorable to

the plaintiff. Pielage v. McConnell, 516 F.3d 1282, 1284 (11th Cir.2008).

      Twombly suggests that the Court adopt a “two-pronged approach” in

applying these principles: 1) eliminate any allegations in the complaint that

are merely legal conclusions; and 2) where there are well-pleaded factual

allegations, “assume their veracity and then determine whether they

plausibly give rise to an entitlement to relief.” Under Twombly and Iqbal,

courts may infer from the factual allegations in the complaint “obvious

alternative explanation[s],” which suggest lawful conduct rather than the

unlawful conduct the plaintiff would ask the court to infer.

      Defendant Intervenors argue the Court should apply Rule 9(b) to this

election case and require that the alleged fraud be plead with particularity.

This rule has no application to the context of election fraud or illegality

because of the problems of proof in such cases arising from a constitutional

guarantee of a private ballot. In election contests, it is only necessary to show

enough fraud or illegality or irregularity to put the outcome in doubt – one

does not have to be prove conclusively what the outcome would have been but


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for the fraud. O.C.G.A. § 21-2-522. Therefore, pleading standards applicable

to common law fraud claims, which always involve a claim of but for

causation of actual damages, should not be applied to election disputes. In an

election contest it is not necessary to show how the illegal ballots were voted

because once ballots have been introduced into the pool that will be counted,

it is normally not possible to identify which were illegally cast or counted.

Recognizing this reality, the Georgia Supreme Court has held,

      The fallacy in the trial court's analysis is demonstrated by the
      impossibility of determining how the 481 electors would have voted
      had they been supplied with proper ballots. … It is precisely for this
      reason that we have held that the focus in an election contest
      involving illegal ballots is on whether they “exceeded ... the margin
      of victory.” Howell v. Fears, supra at 628, 571 S.E.2d 392. Thus,

            [i]t was not incumbent upon [Plaintiff] to show how the []
            voters would have voted if their [absentee] ballots had been
            regular. [Plaintiff] only had to show that there were enough
            irregular ballots to place in doubt the result.

Mead v. Sheffield, 278 Ga. 268, 272, 601 S.E.2d 99, 102 (2004) (citing Howell

v. Fears, 275 Ga. 627, 571 S.E.2d 392 (2002). See also Miller v. Picacho

Elementary Sch. Dist. No. 33, 179 Ariz. 178, 180, 877 P.2d 277, 279, (S.

Ct.1994) (“We therefore hold that a showing of fraud is not a necessary

condition to invalidate absentee balloting. It is sufficient that an express non-

technical statute was violated, and ballots cast in violation of the statute

affected the election.”)




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      Moreover, even if Rule 9(b) were applicable, the Complaint as

summarized above particularizes the precise fraudulent conduct alleged here.

            2.     ALLOCATION OF THE BURDEN OF PROOF WITH
                   RESPECT TO ELECTRONIC ELECTION FRAUD.

      The difficulties of proof just discussed warrant further consideration.

      Forensic examination of the black boxes inside which the election

software operates is necessary to even approximately obtain direct evidence

of electronic fraud in elections. Even that may be impractical or impossible

due to the lack of protected audit and system logs inside the in Curling v.

Raffensperger, 2020 WL 5994029 (N.D. Ga. 10/11/20) and due to the

compressed time frame for resolving the controversy. A practical and

appropriate method of allocating the burden and order of proof of electronic

election fraud should be developed and applied.

      The Supreme Court has laid down the mechanics for allocating the

burden of proof in analyzing discriminatory-treatment cases where the

evidence will depend on circumstantial or statistical evidence, as is the case

here. In McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973), the Supreme

Court laid out a three-step analysis. First, plaintiffs must make out a prima

facie case of the discrimination, see id. at 802, just as the Plaintiffs here have

demonstrated harm by the statistical analysis of the results. Second, the

burden shifts to the defendant to articulate a legitimate reason for the



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challenged action – there is none here. See id. at 802-03. Finally, the plaintiff

must establish that the reason articulated is mere pretext and that

discrimination occurred. See McDonnell Douglas, 411 U.S. at 803.6 Plaintiffs

have already provided evidence of that discrimination – it is now time to look

at the software and how it was used.

      Plaintiffs have discharged the burden of the first step by pleading and

proving a prima facie case showing in their Complaint that (1) Dominion

vote-collection-aggregation-tabulation software was employed on November 3

in Georgia; and (2) the specific software so employed included at relevant

times a capability of collecting, aggregating, and/or tabulating votes in

discriminatory fashion. See Doc. 1-10 (Ramsland Affidavit). Competent

evidence establishes unmistakably that this software was both fraud-enabled

and audit-disabled. The prima facie showing in this case could hardly be

more persuasive.


6 Courts have readily adapted the framework set forth in McDonnell Douglas
in other cases where discrimination claims are “based principally on
circumstantial evidence.” Reeves, 530 U.S. at 141. Although originally decided
under Title VII of the Civil Rights Act of 1964, courts have deployed
McDonnell Douglas adaptations when analyzing other constitutional and
statutory claims based on Sperino, BEYOND MCDONNELL DOUGLAS, U. Cinn.
(2013) (McDonnell Douglas structure used in cases under the Americans with
Disabilities Act (‘ADA’"),” “Age Discrimination in Employment Act (‘ADEA’),”
and “discrimination cases brought pursuant to 42 U.S.C. sections 1983 and
1981,” and “various state antidiscrimination statutes.”). It makes sense to
consider this as a useful paradigm to determine whether there is
discrimination against one group of voters over another.

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      Further, there has been no adequate rejoinder to this compelling prima

facie showing. Given the foundational constitutional importance of the right

to vote, Defendants bear the burden of presenting, in response to a prima

facie demonstration of electronic electoral discrimination, conclusive evidence

that negates the risk that the software was used in a discriminatory fashion.

      Algorithms that discriminate based on political preference or affiliation

are never permissible. Vote collection-aggregation-tabulation software,

especially when applied in multiple locations in a multi-precinct election,

poses a new challenge in analyzing discrimination, but the same judicial

analysis should apply. Further, just as discrimination in other contexts,

software engineered to produce disparate treatment of different voters will

also be engineered to cover its own tracks and will be deployed by politicians

only where the software’s role will be difficult to show after the fact,

particularly in the short window for mounting electoral challenges.7

      Although conclusive evidence of actual discrimination perpetrated

through voting software may well be available in some instances, just as




7 A further consideration concerns synchronization of electoral decisions. The
timing of determinations of electoral outcomes, unlike outcomes in making
multiple employment decisions, is an issue of great practical moment and
independent constitutional significance. See, e.g., U.S. Const Amend XX. One
cannot un-ring bells, unscramble omelets, get second chances at first
impressions, or re-run the same election after an extended adjudication
contesting the vote-counting algorithms employed in the first instance.

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direct statements of discriminatory intentions are sometimes available, in the

more usual case direct, timely, and comprehensible evidence of the precise

operation and effects of fraud-enabled election software may be hard to come

by, especially where time is short and political tempers run hot.

      There can be no legitimate reason—none whatever—for vote-collection-

aggregation-tabulation software to include the capability or potential for

discriminating on a basis of political preference or affiliation, or for covering

up the potential for such disparate treatment. Accordingly, in adapting

McDonnell Douglas to electronic electoral frauds, the second and third steps

of this paradigm should be combined, thus streamlining its application to

these cases of alleged political discrimination. While one can argue that

software algorithms may be appropriate in employment decisions, or even in

cases involving political drawing of voting districts, employing fraud-enabled

software that opens the door to invidious political discrimination is quite a

different matter.

      As with any fraud, there was ample motive, opportunity, and capability

to use the software as it was designed to change the outcome of the

tabulation, and scant evidence has been presented to show that it was not

used in that way. Defendants have made no arguments as to why the

software employed the features it contained, and no evidence that its

capabilities were not used in this election. Given the foundational


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constitutional importance of the right to vote, the standard for upholding the

use of fraud-enabled or audit-disabled software must be demanding, and

Defendants have not satisfied their burden in rebutting the allegations and

the evidence presented. Mere certification of the software and Logic and

Accuracy testing are inadequate, as Judge Totenberg found in Curling v.

Raffensperger.

      Judge Posner remarks that “one of the most persistent fallacies” in

commentary on Bush v. Gore and the 2000 election is “the notion that the

winner of an election can be determined without reference to election rules.”

Posner, Breaking the Deadlock, at 2. Once use of fraud-enabling and/or audit-

disabling software has been established, Defendants should bear the burden

of showing that such software did not affect the outcome that would be

generated by the election rules but for the presence of the software.

Otherwise, the only resort is invalidation of the compromised election.

            3.    PLAINTIFFS’ CLAIMS ARE PLAUSIBLE.

      Turning to the plausibility inquiry, the Defendants contend that the

Plaintiffs’ claims are “simply not plausible.”

      All Defendants contend that the hand audit necessarily precludes there

having been anything amiss in the Dominion software. The premise of this

argument is that the paper ballots printed by the Dominion Ballot Marking

Devices are auditable in a software-independent independent manner. Not


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only is this not true, the State Defendants are collaterally estopped from

making this argument, for it has been decided against them by Judge

Totenberg in Curling v. Raffensperger, 2020 WL 5994029 (N.D. Ga. 10/11/20).

Reviewing the evidence, Judge Totenberg explained why the Dominion BMD

ballots are not auditable in a software independent way:

             A voting system is strongly software independent “if an
      undetected change or error in its software cannot cause an
      undetectable change or error in an election outcome, and moreover,
      a detected change or error in an election outcome (due to change or
      error in the software) can be corrected without re-running the
      election.” (Stark Suppl. Decl., Doc. 640-1 at 42 ¶ 10.) “Systems
      based on optically scanning hand-marked paper ballots (with
      reliable chain of custody of the ballots) are strongly software
      independent, because inspecting the hand-marked ballots allows an
      auditor to determine whether malfunctions altered the outcome,
      and a full manual tabulation from the paper ballots can determine
      who really won, without having to re-run the election.” (Id.)
      Therefore, a risk-limiting audit of an election conducted using hand-
      marked paper ballots “can guarantee a large chance of correcting
      the outcome if the outcome is wrong.” (Id.)

            Dr. Stark’s affidavits and hearing testimony address
      the impossibility of conducting a reliable audit of ballots
      and voting totals derived from QR codes for purposes of
      verifying the accuracy or integrity of election results or
      processes. In Dr. Stark’s view, the risk-limiting audit methodology
      cannot be properly utilized to assess the accuracy of
      election results in the context of a BMD system where
      ballots are tabulated based on a humanly non-readable QR
      code that is not voter verifiable and where the computer
      voting system is vulnerable to data hacking or manipulation
      that can alter votes cast in untraceable ways – including in
      the votes actually shown on the ballots that are audited.

Id. at 28 (emphasis added). See also Doc. 1-8, (academic article presenting




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behavioral research that Dominion’s BMD ballots are not actually verified by

voters and showing they are not auditable independent of the software). This

finding is crucially significant because the evidence is overwhelming that

Dominion’s systems, including BMDs, are easily hacked and can rig the votes

printed in the QR codes, which are not human-readable and which contain

the actual vote read by the scanners. Summing up, Judge Totenberg ruled

that “Absent such an injunction [prohibiting the use of BMDs], there is no

audit remedy that can confirm the reliability and accuracy of the

BMD system, as Dr. Stark has stressed.” Id. at 33 (emphasis added).

      Plaintiffs easily meet the pleading stage plausibility analysis because

their claims are copiously supported with eye-witness and expert testimony.

This is more than enough to surpass the 12(b)(6) standard under Twombly

and Iqbal.

             4.    PLAINTIFFS HAVE PLEADED A CLAIM UNDER THE
                   ELECTIONS AND ELECTORS CLAUSE.

      Plaintiffs have alleged the following violations of the Elections and

Electors Clause:

   1. Secretary of State Rule 183-1-14-0.9-.15, permitting absentee ballots to
      be opened up to three weeks before election day, is directly and
      irreconcilably contrary to O.C.G.A. § 21-2-386(a)(2).

   2. The Settlement Agreement is facially unconstitutional because it varies
      from the specified statutory procedures for handling and adjudicating
      absentee ballots.




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   3. The de facto abolition of the signature match requirement in violation
      of O.C.G.A. § 21-2-386.

Defendants contend none of this matters and cannot be remedied in any

event so the Complaint should be dismissed. To the contrary, “A significant

departure from the legislative scheme for appointing Presidential electors

presents a federal constitutional question.” Bush v. Gore, 531 U.S. 98, 112,

(2000). The Elections and Electors clause effectively federalizes and

constitutionalizes state election codes for the selection of presidential

electors. When those procedures are substantially altered by means other

than a duly enacted statute as they have been in Georgia, the Constitution is

violated. This is the teaching of McPherson v. Blacker, 146 U.S. 1 (1892) and

Bush v. Gore.

      In Georgia, changes to the absentee balloting procedures have opened

an 8-lane superhighway for fraudulent ballots, which the supporters of Biden

have fully exploited. Plaintiffs have stated a claim for violation of the

Elections and Electors Clause.

            5.    PLAINTIFFS HAVE PLEADED AN EQUAL PROTECTION
                  VIOLATION

      Defendants also absurdly contend that plaintiffs have failed to state a

claim that the Equal Protection clause was violated. There is an Equal

Protection violation in the dilution of votes for Trump by the injection of tens

of thousands of illegal ballots for Biden. There is an Equal Protection


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violation in the use of Dominion equipment that confers a politically

discriminatory 5% advantage to Biden as compared to other election systems.

There is an Equal Protection violation in the de facto abolition of the

signature match requirement for absentee ballots as compared to in person

voting in which voters have to provide proof of their identity. The receipt and

counting of more than one million absentee ballots for which there was no

effective signature match violates the Georgia Election Code and the Electors

and Elections Clause and subjects absentee voters and in person voters to

disparate treatment. Counting 20,188 votes from non-residents

unconstitutionally dilutes the votes of legal residents. The Equal Protection

violations in this case are plain and obvious under a large body of “one person

one vote” case law from Baker v. Carr, 369 U.S. 186 (1962), Reynolds v. Sims,

377 U.S. 533 (1964) and Bush v. Gore.

      In Equal Protection cases, it has been made clear that

      [o]ur treatment of anecdotal evidence in Cone Corp. and Ensley
      Branch is consistent with the formulation in Justice
      O'Connor's Croson plurality opinion that ‘evidence of a pattern of
      individual discriminatory acts can, if supported by appropriate
      statistical proof, lend support to a local government's determination
      that broader remedial relief is justified,’ 488 U.S. at 509, (citation
      omitted) (emphasis added). In light of Croson 's guidance on the
      point, and our decisions in Cone Corp. and Ensley Branch, we
      believe that anecdotal evidence can play an important role in
      bolstering statistical evidence, but that only in the rare case will
      anecdotal evidence suffice standing alone.

Engineering Contrs. Ass'n v. Metropolitan Dade County, 122 F.3d 895, 925


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(11th Cir. 1997) (citing Richmond v. J. A. Croson Co., 488 U.S. 469, 509,

(1989). “Moreover, evidence of a pattern of individual discriminatory acts can,

if supported by appropriate statistical proof, lend support to a local

government's determination that broader remedial relief is justified.” Id.

Plaintiffs have offered such statitistical evidence.

            6.     PLAINTIFFS HAVE PLEADED A DUE PROCESS
                   VIOLATION

      Similarly, the Complaint states a claim for violation of the Due Process

clause. The Settlement Agreement and Rule 183-1-14-0.9-.15 were adopted in

violation of the Georgia Election Code and the Elections and Electors clause,

depriving Plaintiffs of their rights thereunder without Due Process. The

fundamental right to vote protected by the Fourteenth Amendment is

cherished in our nation because it “is preservative of other basic civil and

political rights.” Reynolds, 377 U.S. at 562. Voters have a “right to cast a

ballot in an election free from the taint of intimidation and fraud,” Burson v.

Freeman, 504 U.S. 191, 211 (1992), and “[c]onfidence in the integrity of our

electoral processes is essential to the functioning of our participatory

democracy.” Purcell v. Gonzalez, 549 U.S. 1, 4 (2006) (per curiam).

      “Obviously included within the right to [vote], secured by the

Constitution, is the right of qualified voters within a state to cast their ballots

and have them counted” if they are validly cast. United States v. Classic, 313



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U.S. 299, 315 (1941). “[T]he right to have the vote counted” means counted

“at full value without dilution or discount.” Reynolds, 377 U.S. at 555, n.29

(quoting South v. Peters, 339 U.S. 276, 279 (1950) (Douglas, J., dissenting)).

      “Every voter in a federal . . . election, whether he votes for a candidate

with little chance of winning or for one with little chance of losing, has a right

under the Constitution to have his vote fairly counted, without its being

distorted by fraudulently cast votes.” Anderson v. United States, 417 U.S.

211, 227 (1974); see also Baker v. Carr, 369 U.S. 186, 208 (1962). Invalid or

fraudulent votes “debase[]” and “dilute” the weight of each validly cast vote.

See Anderson, 417 U.S. at 227.

      The right to an honest [count] is a right possessed by each voting

elector, and to the extent that the importance of his vote is nullified, wholly

or in part, he has been injured in the free exercise of a right or privilege

secured to him by the laws and Constitution of the United States.” Anderson,

417 U.S. at 226 (quoting Prichard v. United States, 181 F.2d 326, 331 (6th

Cir.), aff'd due to absence of quorum, 339 U.S. 974 (1950)).

      Practices that promote the casting of illegal or unreliable ballots or that

fail to contain basic minimum guarantees against such conduct can violate

the Fourteenth Amendment by leading to the dilution of validly cast ballots.

See Reynolds, 377 U.S. at 555 (“[T]he right of suffrage can be denied by a




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debasement or dilution of the weight of a citizen’s vote just as effectively as

by wholly prohibiting the free exercise of the franchise.”).

      The argument that Plaintiffs have not stated a Due Process claim is

without merit and should be rejected.

      V.    THE PLAINTIFFS’ CLAIMS ARE RIPE AND NOT MOOT.

      The State Defendants’ mootness argument is based on the false

premise that this Court cannot order any of the relief requested in the

Complaint or the TRO Motion. As this Court held in a recent decision

granting a TRO enjoining Defendant Secretary Kemp, “Defendant’s claim

that the Secretary cannot redress Plaintiff’s injury fails because the

Secretary of State is the state official in charge of enforcing Georgia’s election

laws.” Common Cause Ga. v. Kemp, 347 F.Supp.3d 1270, 1291 (N.D. Ga.

2018) (citing Grizzle v. Kemp, 634 F.3d 1314, 131 (11th Cir. 2011)).

Accordingly, “Defendant’s role as the chief election official of the state, a

ruling by the Court directed at Defendant can redress Plaintiff’s injuries.” Id.

      Without an immediate temporary injunction, electoral votes will be

cast, electors will be appointed and this Court will lose any authority to

provide relief to Plaintiffs. There is no harm to Respondents by the potential

relief fashioned by this Court. As recently held by a court considering claims

similar to those asserted here.




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      3 U.S.C. §5 makes clear that the Safe Harbor does not expire until
      December 8, 2020, and the Electoral College does not vote for
      president and vice president until December 14, 2020. According to
      an October 22, 2020 white paper from the Congressional Research
      Service titled “The Electoral College: A 2020 Presidential Election
      Timeline,” the electors will meet and vote on December 14, 2020.
      https://crsreports.congress.gov/product/pdf/IF/ IF11641. December
      8, 2020—six days prior to the date the College of Electors is
      scheduled to meet—is the “safe harbor” deadline under 3 U.S.C. §5.
      That statute provides that if a state has provided, “by laws enacted
      prior to the day fixed for the appointment of the electors, for its
      final determination of any controversy or contest concerning the
      appointment of all or any of the electors of such State,” and that
      final determination has been made “at least six days before the time
      fixed for the meeting of the electors,” that determination—if it is
      made under the state’s law at least six days prior to the day the
      electors meet— “shall be conclusive, and shall govern in the
      counting of the electoral votes as provided in the Constitution . . . .”
      It appears, therefore, that December 8 is a critical date for
      resolution of any state court litigation involving an aggrieved
      candidate who is contesting the outcome of an election.

Feehan v. Wisconsin Board of Elections, Case No. 20-cv-1771(E.D. Wis.

12/4/20) (Attached as Exh. A).

      This Court can grant the primary relief requested by Plaintiffs, i.e., de-

certification of Georgia’s election results and an injunction prohibiting State

Defendants from transmitting the results. There is also no question that this

Court can order other types of declaratory and injunctive relief requested by

Plaintiffs, in particular, impounding Dominion voting machines and software

for inspection, nor have State Defendants claimed otherwise.




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      In Siegel v. Lepore, 234 F.3d 1163 (11th Cir. 2000), a case arising from

the 2000 General Election, the Eleventh Circuit held that certification did not

moot the claim:

      This Court has held that “[a] claim for injunctive relief may become
      moot if: (1) it can be said with assurance that there is no reasonable
      expectation that the alleged violation will recur and (2) interim
      relief or events have completely and irrevocably eradicated the
      effects of the alleged violation.” Reich v. Occupational Safety &
      Health Review Comm'n, 102 F.3d 1200, 1201 (11th Cir.1997).

      We conclude that neither of these elements is satisfied in this case.
      The Democratic candidate, Vice President Gore, and others are
      currently contesting the election results in various lawsuits in
      numerous Florida state courts. There are still manual recount votes
      from at least Volusia and Broward Counties in the November 26th
      official election results of the Florida Secretary of State. In view of
      the complex and ever-shifting circumstances of the case, we
      cannot say with any confidence that no live controversy is
      before us.

Id. at 1172-73 (emphasis added). ). See also Common Cause, 347 F.Supp.3d

at 1291 (holding that certification of election results did not moot post-

election claim for emergency injunctive relief). The State Defendants cannot

be allowed to certify the results after this case has been filed and then claim

the lawsuit is moot because they have certified.

      The case of Wood v. Raffensberger, No. 20-14418, 2020 WL 7094866

(11th Cir. Dec. 5, 2020) also does not support Defendants’ mootness or

standing arguments. The key difference between this case and Wood is that

the plaintiff in Wood requested delay of certification, rather than de-




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certification, so in the Court’s view certification rendered his request moot.

Plaintiffs here also request several additional types of injunctive relief (as

well as declarative relief) to preserve evidence and maintain the status quo

that are not moot, e.g., access to voting machines and records as well as

declaratory relief.

      VI.   THE ELEVENTH AMENDMENT DOES NOT BAR CLAIMS
            FOR INJUNCTIVE RELIEF.

      State Defendants assert that Plaintiffs’ claims are barred by the

Eleventh Amendment. While the contours of the Eleventh Amendment’s

jurisdictional bar are ambiguous in many cases, this is not one of them. As

the Court held in Fair Fight Action, Inc. v. Raffensperger, 413 F. Supp. 3d

1251 (N.D. Ga. 2019):

      Under the doctrine enunciated in Ex parte Young, 209 U.S. 123, 28
      S.Ct. 441, 52 L.Ed. 714 (1908), ... a suit alleging a violation of the
      federal constitution against a state official in his official capacity for
      injunctive relief on a prospective basis is not a suit against the
      state, and, accordingly, does not violate the Eleventh Amendment.”
      Grizzle v. Kemp, 634 F.3d 1314, 1319 (11th Cir. 2011) (citations
      omitted); see also Alden v. Maine, 527 U.S. 706, 756–57, 119 S.Ct.
      2240, 144 L.Ed.2d 636 (1999) (“The rule [of sovereign immunity],
      however, does not bar certain actions against state officers for
      injunctive or declaratory relief.”) and Will v. Michigan Dept. of State
      Police, 491 U.S. 58, 71 n.10, 109 S.Ct. 2304 (“Of course a state
      official in his or her official capacity, when sued for injunctive relief,
      would be a person under § 1983 because ‘official-capacity actions for
      prospective relief are not treated as actions against the State.’”).

Id. at 1278. The Court further held:




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      In addition, the remedy of prospective injunctive relief is “not the
      ‘functional equivalent’ of a form of relief barred by the Eleventh
      Amendment.” Id. The proposed remedy also will not resolve “for all
      time,” Georgia's election system.

Id. at 1280.

      This is precisely what the Plaintiffs request in the Complaint, namely,

equitable and injunctive relief to prospectively enjoin the Defendants from

taking actions that are within the scope of their statutory authority, in

particular, the Secretary of State as the State’s chief election officer,

including but not limited to seeking a permanent injunction to de-certify the

election results and against transmitting the currently certified election

results to the Electoral College.” The Eleventh Amendment is no bar to this

Court granting the requested relief.

      VII. P L A I N T I F F S ’ C L A I M S A R E N O T S U B J E C T T O D I S M I S S A L
           UNDER ABSTENTION DOCTRINES.

      The State Defendants next argue that the Court should dismiss the

Complaint to permit State court resolution under the abstention doctrines

announced in Comm'n of Texas v. Pullman Co., 312 U.S. 496 (1941) and

Colorado River Water Conservation District v. United States, 424 U.S.

800(1976); State Defendants’ Brief at pp. 30–33. As to Pullman abstention, a

federal court may stay or dismiss proceedings for “a state court resolution of

underlying issues of state law” when (1) the case presents an unsettled

question of state law, and (2) the question of state law is dispositive of the


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case or would materially alter the constitutional question presented. Harman

v. Forssenius, 380 U.S. 528, 534, 85 S.Ct. 1177 (1965). As a preliminary

matter, Defendants have not identified any “unsettled question of state law”

that must be resolved to address Plaintiffs’ constitutional claims, nor have

they identified any specific state proceeding in which such an unsettled

question is before a state court. See Doc. 63-1 at 30-33. The state law

“questions” raised in the Complaint are relatively straightforward – and

involve bright-line factual determinations – e.g., did Georgia election officials

de facto eliminate the absentee ballot signature matching requirement, were

absentee ballots sent to voters who did not request them, were Republican

ballots destroyed, lost or disqualified at a higher rate than comparable ballots

for Democratic candidates, etc.

      While it is true that “abstention is discretionary” Siegel v. LePore, 234

F.3d 1163, 1174 (11th Cir. 2000), the Supreme Court has made clear that

“the power to dismiss under the Burford doctrine, as with other abstention

doctrines, ... derives from the discretion historically enjoyed by courts of

equity.” Quackenbush v. Allstate Ins. Co., 517 U.S. 706, 727–28, 116 S.Ct.

1712, 135 L.Ed.2d 1 (1996) (emphases added). In exercising its discretion, a

federal court must consider whether “certain classes of cases, and certain

federal rights” are more appropriately “adjudicated in federal court.” Id. at

728, 116 S.Ct. 1712; Edwards v. Sammons, 437 F.2d 1240, 1243 (5th Cir.


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1971) (federal courts “must also take into consideration the nature of the

controversy and the particular right sought to be enforced.”).

      The Supreme Court has repeatedly held abstention is inappropriate

when First Amendment rights, rights related to school desegregation, and

voting rights are alleged at issue. Id., citing Harman v. Forssenius, 380 U.S.

528, 537 (1965) (abstention improper when voting rights violation being

alleged), Baggett v. Bullitt, 377 U.S. 360, 375–80 (1964) (abstention improper

when First Amendment violation being alleged), and Griffin v. County Sch.

Bd. of Prince Edward Cty., 377 U.S. 218, (1964) (abstention improper when

school desegregation violations being alleged)); see also Siegel, 234 F.3d at

1174 (collecting cases holding abstention improper).

      The Eleventh Circuit has rejected the argument that a federal court

should abstain under Pullman in voting rights cases in no uncertain terms.

Drawing from decades of precedent, the Eleventh Circuit in Siegel concluded

that “[o]ur cases have held that voting rights cases are particularly

inappropriate for abstention.” Id. This conclusion was “strengthened by the

fact that Plaintiffs allege a constitutional violation of their voting rights.” Id.

      The law is crystal clear in the Eleventh Circuit. Federal courts do not

abstain when voting rights are alleged to be violated. The unambiguous

holdings from binding precedent, mentioned nowhere in the State’s

Defendants’ Brief, sharply confine the Court’s discretion to abstain from


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exercise of its Article III jurisdiction over this case. See e.g. Harman, 380 U.S.

at 537 (“Given the importance and immediacy of the problem [of voting

rights], and the delay inherent in referring questions of state law to state

tribunals, [ ] it is evident that the District Court did not abuse its discretion

in refusing to abstain.”) (citations omitted).

      The very nature of this controversy and the inapplicability of

discretionary abstention is dispositive on this issue. Abstention would result

in substantial delay as the various state court challenges work their way

through the state court system. Abstention, were it applied, would by its

nature last well beyond the current certification and electoral college process

and moot the Plaintiffs’ claims. “The delay which follows from abstention is

not to be countenanced in cases involving such a strong national interest as

the right to vote.” Edwards, supra, 437 F.2d at 1244.

      The State Defendants also argue that the Court should decline to reach

the merits of this dispute under the doctrine of constitutional avoidance—a

doctrine that is part and parcel of the Pullman analysis — because it “might

be mooted or presented in a different posture by a state court determination

of pertinent state law.” State Defendants’’ Brief, pg. 31 (citing cases); See

Duke v. James, 713 F.2d 1506, 1510 (11th Cir. 1983) (explaining how

Pullman applies when there is an unsettled question of state law and “that

the question be dispositive of the case and would avoid, or substantially


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modify, the constitutional question.”). However, constitutional avoidance does

not permit federal courts to avoid federal questions under the federal

constitution. See Pittman v. Cole, 267 F.3d 1269, 1285–87 (11th Cir. 2001);

(“federal courts should not abstain in order to avoid the task of deciding the

federal constitutional issues in a case.”); Duke, 713 F.2d at 1510 (“It is

improper ... to view abstention as a tool merely to extract from the state

courts an alternative state law ground for the judgment.

      Abstention is not intended to serve in this manner when state law is

clear. Similarly, if the state court will merely apply federal constitutional

law, then the state construction will not moot or modify the constitutional

question.”).

      It is not for the courts to withdraw that jurisdiction which Congress
      has expressly granted under section 1983 where such a withdrawal
      is contrary to the purpose of Congress in extending that alternative
      forum. In this regard, the Pullman doctrine is narrow and is tightly
      circumscribed. A federal court must grapple with difficult
      constitutional questions that confront it squarely. The abstention
      doctrine is an exception to this rule, to be exercised only in special
      or “exceptional ” circumstances.”

Id. (emphasis in original).

      As to Colorado River abstention, the State Defendants fail to provide

any basis for its application in this case. The Colorado River analysis is

applicable when federal and state proceedings involve substantially the same

parties and substantially the same issues. Ambrosia Coal and Const. Co. v.



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Pages Morales, 368 F.3rd. 1320, 1329-1330 (11th Cir. 2004). While the State

Defendants generally allege that the existence of “numerous pending

challenges to the November election that have properly been filed in

Georgia’s courts,” other than a vague reference to supposed “statements by

Mr. Wood’s counsel in the no-longer-pending Wood litigation,” there is no

sufficient showing that any ongoing parallel state court action involves

“substantially the same parties and substantially the same issues” that

would properly invoke application of the Colorado River abstention doctrine

to permit this Court to avoid its “virtually unflagging obligation” to exercise

its jurisdiction over these claims. Moses v. Cone Mem’l Hosp. v. Mercury

Const. Corp., 460 U.S. 1 (1983) (primary purpose of Colorado River

abstention is avoidance of piecemeal litigation between same parties).

      There is no reason for this Court to abstain from deciding this case.

      VIII. R E P L Y I N S U P P O R T O F M O T I O N F O R E M E R G E N C Y
            INJUNCTIVE RELIEF.

      The Intervenor Defendants’ response to the motion for emergency

injunctive relief is largely a rehash of the arguments made in their motion to

dismiss – standing, mootness, laches, failure to state a claim dressed up as

not likely to succeed on the merits, no irreparable harm and balancing of the

equities. All of these contentions are addressed in the earlier arguments in




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this brief in response to the motions to dismiss. Two bites at the dismissal

apple ought to be enough for the vast swarms of lawyers defending this case.

      Plaintiffs reiterate that they have demonstrated that they have

satisfied the requirements for the grant of a TRO, in particular, substantial

likelihood of success, and highlight this Court’s decision to grant a TRO

where plaintiffs brought a post-election challenge regarding Defendant

Secretary Kemp’s implementation of Georgia election laws supported by

substantial statistical evidence and witness declarations showing that the

“infringement of the rights of the voters to cast their votes and have their

votes counted.” Common Cause, 347 F.Supp.3d at 1295.

            1.    EXPERT TESTIMONY

      Intervenor Defendants move to exclude all of Plaintiffs’ expert

testimony and offer reports of their own experts.

      The objections to Plaintiffs’ experts all go to weight, not admissibility.

Defendants’ own experts are subject to many of the same criticisms, with the

additional criticism that several of them are paid mouthpieces, while all of

Plaintiffs’ experts are working for free and with great courage, as they have

undertaken a great career risk due to the incredibly toxic nature of our

current political environment.

      The most important point to make is that this is not a jury trial. The

Court is well-able to discern the wheat from the chaff and determine what


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weight and credibility should be afforded to competing experts. Because there

is no jury, this not a case in which the cause of justice needs to be protected

from unsophisticated jurors’ having excess credulity for expert testimony –

the whole animating purpose of D’aubert and its progeny. Each side has its

experts. The Court should exercise its discretion over evidentiary questions

and weigh them all for what they are worth.

        Responses from Plaintiffs’ experts are submitted contemporaneously

herewith.

        Russell Ramsland has also offered a reply to the reports critiquing his

work.

        Eric Quinnell, Ph.D. and S. Stanley Young offer a very brief rebuttal

which demonstrates that the Rodden-Marble report, which purports to

critique their analysis, actually confirms it. Quinnell and Young find that the

statistical properties of the data set of Fulton County absentee ballots are

mathematically and statistically impossible absent some external

intervention. This is compelling prima facie evidence to support Plaintiffs’

allegations of wrongdoing and complements the State Farm Arena video tape.

The after-hours counting out of public view, in which batches of ballots were

scanned over and over again, concluded just before 1:00 AM on November 4,

2020. The first upload of Fulton County’s absentee ballot results, consisting

of 73,523 ballots, is time-stamped at 12:59 AM, December 4, 2020.


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                             CONCLUSION

      For the foregoing reasons, the motions to dismiss should be denied, and

the motion for emergency injunctive relief should be granted.

      Respectfully submitted, this 6th day of December 2020.


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     The undersigned certifies that the foregoing document was prepared in

13-point Century Schoolbook font and in accordance with the margin and

other requirements of Local Rule 5.1.



                                   s/ Harry W. MacDougald
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                     CERTIFICATE OF SERVICE

      This is to certify that I have on this day e-filed the foregoing document

with the Clerk of Court using the CM/ECF system, which will cause

electronic service to be made upon all counsel of record.

      This 6th day of December 2020.

                                   s/ Harry W. MacDougald
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